20-12345-mg        Doc 2260        Filed 07/05/23 Entered 07/05/23 11:52:36                     Main Document
                                               Pg 1 of 10



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Mary de Leon, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On July 5, 2023, I caused a true and correct copy of the following documents to be served

via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit A; and

         On July 5, 2023, I caused a true and correct copy of the following documents to be served

via U.S. Mail upon the parties set forth on the service list annexed hereto as

Exhibit B.

    MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
     EXCLUDE CERTAIN DIRECT TESTIMONY AND EVIDENCE OFFERED BY OR
     THROUGH THE DIOCESE’S TESTIFYING EXPERT IN CONNECTION WITH
     THE COMMITTEE’S MOTION TO DISMISS THE CHAPTER 11 CASE AND
     CORRESPONDING EVIDENTIARY OBJECTIONS AND MOTION TO STRIKE;
     and



1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.

                                                         1
DOCS_LA:349885.1 18491/002
20-12345-mg        Doc 2260    Filed 07/05/23 Entered 07/05/23 11:52:36            Main Document
                                           Pg 2 of 10



   DECLARATION OF ALAN J. KORNFELD, ESQ. IN SUPPORT OF MOTION OF
    THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO EXCLUDE
    CERTAIN DIRECT TESTIMONY AND EVIDENCE OFFERED BY OR THROUGH
    THE DIOCESE’S TESTIFYING EXPERT IN CONNECTION WITH THE
    COMMITTEE’S MOTION TO DISMISS THE CHAPTER 11 CASE AND
    CORRESPONDING EVIDENTIARY OBJECTIONS AND MOTION TO STRIKE.

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated this 5th day of July, 2023.



                                                      /s/ Mary de Leon
                                                      Mary de Leon




                                                 2
DOCS_LA:349885.1 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 3 of 10



                                        EXHIBIT A

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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 4 of 10



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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 5 of 10



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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 6 of 10



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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 7 of 10




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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 8 of 10



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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                          Pg 9 of 10



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DOCS_NY:47386.2 18491/002
20-12345-mg        Doc 2260   Filed 07/05/23 Entered 07/05/23 11:52:36   Main Document
                                         Pg 10 of 10


EXHIBIT B

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